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Plaintiff alleges that in early March of 2022, a person claiming to be named “Lin
Feng” contacted her through LinkedIn and then through a messaging application
known as WeChat. (Id.). Feng claimed to be a cryptocurrency investor who had the
ability to make significant sums of money in short periods of time by trading
cryptocurrency. (Id.).

After making such representations, Feng persuaded Plaintiff to purchase $20,000
worth of USDC, a type of cryptocurrency, on crypto.com, and then to transfer that
entire sum into a BXMEX account. (Id. at 7). Over the next few hours, Plaintiff’s
BXMEX account appeared to indicate that Plaintiff’s $20,000 had made a profit of
$3,000. (See id.). Due to the apparent success of this investment, Plaintiff decided
to invest additional funds, totaling $683,000 “from her own savings . . . and
various loans [including from family members].” (Id.). Plaintiff alleges she made
these decisions “under the influence and decit of BXMEX’s agent[,] Lin Feng.”
(Id.).

Next, Plaintiff alleges that all of the money she invested was “converted, without
her consent, by BXMEX, into USDT, which is another cryptocurrency, [and] then
channeled into various BXMEX wallets located in foreign countries.” (Id.). These
funds were then “frequently transferred to foreign exchange platforms outside the
reach of U.S. laws.” (Id. at 9). Near the end of March 2022, Plaintiff attempted to
withdraw funds from her BXMEX account but was told that she would have to pay
taxes in order to do so. (Id.). Plaintiff alleges that she then contacted various
authorities to report she had been scammed. (Id. at 14).

On the basis of the above allegations, Plaintiff filed a Complaint against Defendant
(“Compl.”), (Dkt. No. 1), including three causes of action: (i) fraudulent
misrepresentation, (ii) negligent misrepresentation, and (iii) violation of Securities
and Exchange Commission Rule 10b-5, (Compl. at 11–14). Plaintiff now asks the
Court to “immediately freeze all the cryptocurrencies located in the 38 wallet
addresses mentioned” in her Application and her Complaint. (Id. at 14).

    II.          LEGAL STANDARD

A temporary restraining order (“TRO”) is “an extraordinary remedy that may only be
awarded upon a clear showing that the plaintiff is entitled to such relief.” Winter v.
Nat. Res. Def. Council, 555 U.S. 7, 22 (2008). The purpose of a preliminary
injunction is to preserve the status quo and the rights of the parties until either a
preliminary injunction hearind may be held or a final judgment on the merits can be
rendered. See Ramos v. Wolf, 975 F.3d 872, 887 (9th Cir. 2020) (citing U.S. Philips

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Corp. v. KBC Bank N.V., 590 F.3d 1091, 1094 (9th Cir. 2010)); East Bay Sanctuary
Covenant v. Trump, 932 F.3d 742, 779 (9th Cir. 2018) (citing Granny Goose Foods,
Inc. v. Bhd. of Teamsters & Auto Truck Drivers Local No. 70 of Alameda City., 415
U.S. 423, 439 (1974)).

The standard for a TRO is identical to the standard for a preliminary injunction.
Frontline Med. Assocs., Inc. v. Coventry Healthcare Workers Comp., Inc., 620 F.
Supp. 2d 1109, 1110 (C.D. Cal. 2009). Specifically, a party seeking preliminary
injunctive relief must establish (1) that she is likely to succeed on the merits, (2) that
she is likely to suffer irreparable harm in the absence of preliminary relief, (3) that
the balance of equities tips in her favor, and (4) that an injunction is in the public
interest. Jones v. Bonta, 34 F.4th 704, 713 (9th Cir. 2022) (citing Winter, 555 U.S. at
20)).

The Ninth Circuit “employs a ‘sliding scale test,’ which allows a strong showing on
the balance of hardships to compensate for a lesser showing of likelihood of
success,” such that an applicant “need only show ‘serious questions’ on the merits,”
so long as she establishes “that the balance of harships tips sharply in [her] favor,
there is a likelihood of irreparable injury, and the injunction is in the public interest.”
Where Do We Go Berkeley v. California Department of Transportation, 32 F.4th
852, 859 (9th Cir. 2022) (citing Alliance for the Wild Rockies v. Cottrell, 632 F.3d
1127, 1134–35 (9th Cir. 2011)). A “serious question” is one on which the movant
“has a fair chance of success on the merits.” Sierra On-Line, Inc. v. Phoenix
Software, Inc., 739 F.2d 1415, 1421 (9th Cir. 1984).

    III.         DISCUSSION

Plaintiff’s Application must be denied because Plaintiff has not demonstrated even
a fair chance of success on the merits, with respect to the three causes of action in
her Complaint.

Plaintiff’s first two causes of action, for fraudulent misrepresentation and negligent
misrepresentation, both involve justifiable reliance as an element. (Application at
14–15). However, Plaintiff’s Application does not include any argument
concerning this point. Rather, Plaintiff merely asserts that she justifiably relied on
Lin Feng’s misrepresentations. (Id. at 15–16).

Both the Application and the Complaint allege that Plaintiff began by investing
$20,000 and only deposited greater sums of money after seeing her initial
investment produce (or appear to produce) a profit of $3,000. (Id. at 17; Compl., ¶

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53). However, she provides no argumentation or case law supporting the idea that
it was justifiable for her to make even the initial deposit, given her relative lack of
knowledge concerning Lin Feng and BXMEX. According to Plaintiff’s allegations,
her knowledge of and communications with Lin Feng were limited to messages on
LinkedIn and WeChat. Since Plaintiff has not shown she has a fair chance of
establishing justifiable reliance, she has not shown she has a fair chance of success
on the merits with respect to her first two causes of action.

Plaintiff’s Application is similarly devoid of necessary support for her third cause
of action, which alleges a violation of Securities and Exchange Commission Rule
10b-5. Rule 10b-5 prohibits the taking of certain actions “in connection with the
purchase or sale of any security.” (Application at 16). However, Plaintiff fails to
establish that the Court should regard the cryptocurrencies in this case as securities
for the purposes of Rule 10b-5.

Although Plaintiff makes no references to case law on this point, Plaintiff could
have turned to U.S. Securities and Exchange Commission v. Kik Interactive Inc.,
492 F.Supp.3d 169 (S.D.N.Y. 2020), and its application of “the test set forth in
[SEC v. W.J. Howey Co., 328 U.S. 293 (1946)]” to the cryptocurrency context. Kik,
492 F.Supp.3d at 177. The Kik court held that a sale of cryptocurrency constituted
an “offering of securities” since “the definition of ‘security’ includes an
‘investment contract’” and since the cryptocurrency in that case satisfied Howey’s
three-element test for the existence of an investment contract. Kik, 492 F.Supp.3d
at 177, 182.

Even so, Kik is not binding on this Court, and it includes some noticeably
distinguishable facts. Kik involved sales of cryptocurrency, whereas this case
involves promises of profitability relating to deposits of cryptocurrency. Moreover,
another court in the Central District recently declined to recognize
cryptocurrencies as investment contracts (and thereby as securities) in a case
involving cryptocurrency. See Securities and Exchange Commission v. Pacheco,
No. EDCV 19-958-MWF (AFMx), 2022 WL 1591711 (C.D. Cal. April 4, 2022).

Although the Court remains agnostic as to whether Plaintiff could establish a fair
chance of success on the merits with respect to her third cause of action, it would
be inappropriate for the Court to make such arguments on Plaintiff’s behalf, let
alone to evaluate these arguments on the assumption that Plaintiff would endorse
them. For the foregoing reasons, Plaintiff’s Application is DENIED.

IT IS SO ORDERED.

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